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                                                              DATE FILED: August 26, 2020 2:14 PM
DISTRICT COURT, BOULDER COUNTY, COLORADOFILING ID: 19EA5B2838C81
1777 6th St., Boulder, CO 80302         CASE NUMBER: 2020CV30704
Boulder, CO 80306
303-441-3750


Plaintiff :

ROCKY MOUNTAIN ROOFERS AND GUTTERS LLC, a
Colorado Limited Liability Company
                                                                          COURT USE ONLY
v.

Defendants:

PAMELA JANE GRIFFIN and JAMES E. GRIFFIN; CHERRY
CREEK MORTGAGE CO., INC., a Colorado Corporation; U.S.
DEPARTMENT OF HOUSING AND URBAN
DEVELOPMENT; PUBLIC TRUSTEE OF BOULDER
COUNTY, COLORADO/BOULDER COUNTY TREASURER.

Kevin W. Ward, #44610                                                 Case No:
WICK & TRAUTWEIN, LLC
323 South College Avenue, Suite 3
P.O. Box 2166
Fort Collins, CO 80522                                                Division/Courtroom:
Phone Number: (970) 482-4011      E-mail: kward@wicklaw.com
FAX Number: (970) 482-8929

     COMPLAINT FOR LABOR AND MATERIALS AND FOR FORECLOSURE OF
                          MECHANICS’ LIEN


        COMES NOW, ROCKY MOUNTAIN ROOFERS AND GUTTERS LLC, and through
its counsel, Kevin W. Ward, of the law firm of Wick & Trautwein, LLC, with its Complaint. The
Plaintiff states as follows:

                                             I. PARTIES

     1. Plaintiff, Rocky Mountain Roofers and Gutters LLC (“Plaintiff”), is an Colorado limited
        liability company with a principal place of business at residing at 458 S. Link Lane, Fort
        Collins, Colorado 80524, in Larimer County.

     2. Defendants Pamela Jane Griffin and James E. Griffin are owners of real property located
        at 7280 Glacier View Court, Longmont Colorado 80501 in Boulder County.
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  3. Defendant Cherry Creek Mortgage Co., Inc. may have an interest in the property at issue
     and has a principal place of business at 7600 E. Orchard Road, Suite 250N, Greenwood
     Village, Colorado 80111.

  4. Defendant U.S. Department of Housing and Urban Development, a federal agency, may
     have an interest in the property at issue and has a regional office at 1670 Broadway,
     Denver, Colorado 80202.

  5. Defendant Boulder County Public Trustee / Boulder County Treasurer may have and
     interest in the property at issue and has offices at 1325 Pearl Street, 1st Floor, Boulder,
     Colorado 80302.

                                II. VENUE & JURISDICTION

  6. Venue is proper in Boulder County and in this Court pursuant to C.R.C.P. 98(a) as this
     matter is a foreclosure issue relating to real property in Boulder County.

  7. Jurisdiction is proper over Plaintiff and Defendant pursuant to C.R.S. § 13-1-124(1)
     because this case arises from the transaction of business in Colorado, specifically Boulder
     County, and involves the ownership, use, or possession of land within the state.

                               III. FIRST CLAIM FOR RELIEF

  8. That prior to March 13, 2020, Plaintiff furnished materials and labor to Defendants at
     7280 Glacier View Court, Longmont Colorado 80501.

  9. That said Defendant is indebted to Plaintiff for materials and labor in the principal sum of
     $4,090.43.

  10. WHEREFORE, Plaintiff prays for judgment against Defendants in an amount to be
      determined at trial and such other and further relief as to the Court may deem proper and
      just.


                              IV. SECOND CLAIM FOR RELIEF

  11. Plaintiff adopts by reference, and makes a part hereof, all of the allegations contained in
      its First Claim for Relief.

  12. That Defendants are the owners of the following described real property and
      improvements situated in the County of Boulder, State of Colorado, to-wit:

     Lot 13 BLOCK 6 GUNBARREL ESTATES REPLAT 3, COUNTY OF BOULDER,
     STATE OF COLORADO,

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       Known by street and number as 7280 Glacier View Court, Longmont Colorado 80501.

   13. That Plaintiff furnished materials and labor of the reasonable value of $11,500.00, which
       materials were ordered by Defendants for incorporation in improvements upon the above
       described real property. $4,090.43 of the reasonable value remains unpaid.

   14. That all of said real property is necessary for the convenient use and occupation of the
       improvements for which said materials were furnished.

   15. That Plaintiff recorded its Statement of Lien in the sum of $4,090.43, which lien was
       recorded on the 30th day of April, 2020, at Reception Number 03781294 of the records of
       the Boulder County Clerk and Recorder, a copy of which is attached hereto marked
       Exhibit A.

   16. That Plaintiff served a Notice of Intent to File a Lien Statement on the reputed owners of
       the property and the principal contractor at least ten days before filing its lien statement, a
       copy of which is attached hereto marked Exhibit B.

   17. That there is due unto Plaintiff the principal sum of $4,090.43, together with costs of the
       foreclosure certificate and the recording of the lien and Lis Pendens.

   18. That Defendant Cherry Creek Mortgage Co., Inc. may claim an interest in said real
       property and improvements by reason of a deed of trust recorded January 16, 2013 at
       Reception Number 3282569 in the office of the Boulder County Clerk and Recorder.

   19. That Defendant U.S. Department of Housing and Urban Development may claim an
       interest in said real property and improvements by reason of a deed of trust recorded
       January 16, 2013 at Reception Number 3767640 and Assignment of Deed of Trust
       recorded February 24, 2020 at Reception Number 3282570 in the office of the Boulder
       County Clerk and Recorder.

   20. That Defendant Public Trustee for Boulder County claims an interest in said real property
       and improvements by reason of being named trustee in said deeds of trust.

   21. That Plaintiff has a valid mechanics’ lien upon said real property and improvements,
       which lien is prior to any right, title, interest, or claim of all Defendants in said real
       property and improvements.


     WHEREFORE, Plaintiff prays for judgment against Defendants in an amount to be
determined at trial, reasonable attorneys’ fees, costs, such expert witness fees as may be incurred
by Plaintiff; that the Court decree that Plaintiff has a valid lien in an amount to be determined at
trial, together with service charges, upon the real property and improvements described in above,
which lien is prior and superior to the interests of all Defendants herein; for foreclosure of said


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lien, for costs and expert witness fees; and for other and further relief as to the Court may seem
proper and just.

   RESPECTFULLY SUBMITTED this 26th day of August, 2020.

                                              WICK & TRAUTWEIN, LLC

                                              By:     /s/ Kevin William Ward
                                                      Kevin William Ward, #44610
                                                      Attorney for Plaintiff

Address of Plaintiff:
458 South Link Lane
Fort Collins, Colorado 80524




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